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      BEFORE THE UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT
                            LITIGATION

IN RE: Oral Phenylephrine Marketing                       MDL NO. 3089
and Sales Litigation

                                   PROOF OF SERVICE

       I hereby certify that a copy of the foregoing APPEARANCE FORM, and this Proof of

Service were served by U.S. Certified Mail or electronic mail (as indicated below) on September

22, 2023, to the following:

Defendant: Kenvue Inc
Via Certified Mail
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

Defendant: McNeil Consumer Healthcare
Via Certified Mail
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

Dated: September 22, 2023                           /s/ Jacob R. Rusch
                                                   Jacob R. Rusch (MN Bar No. 0391892)
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